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                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                 Plaintiff,
                                                               Case No. 03-CR-81123
v.                                                             Case No. 05-CV-71617

MARCO HIGH,

                 Defendant.
                                                          /


                       ORDER CLOSING CASE IN LIEU OF JUDGMENT

        On September 1, 2005, the court entered an order denying Marco High’s “Motion

to Vacate, Set Aside, or Correct Sentence Under 28 U.S.C. § 2255.” Inasmuch as the

issues in controversy have been resolved, the instant matter is deemed closed.

Accordingly,

        IT IS ORDERED that the Clerk of the Court close the above-captioned case.


                                                      S/Robert H. Cleland
                                                     ROBERT H. CLELAND
                                                     UNITED STATES DISTRICT JUDGE

Dated: September 1, 2005

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 1, 2005, by electronic and/or ordinary mail.


                                                      S/Lisa G. Teets
                                                     Case Manager and Deputy Clerk
                                                     (313) 234-5522



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